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Form CLKCERT (10/09)
                                          United States Bankruptcy Court
                                           Western District of Michigan
                                               One Division Ave., N.
                                                     Room 200
                                              Grand Rapids, MI 49503


 IN RE: Debtors (names used by the debtors in the last 8
 years, including married, maiden, trade, and address):
                                                                  Case Number 16−00141−jwb
         Scott S. Brinkmeyer
         6756 Cottage Ct.                                         Chapter 7
         Petoskey, MI 49770
         SSN: xxx−xx−7507                                         Honorable James W. Boyd
         Carol B. Brinkmeyer
         6756 Cottage Ct.
         Petoskey, MI 49770
         SSN: xxx−xx−0904
                                                     Debtors



                        CLERK'S CERTIFICATION OF NO UNPAID COSTS



TO: U.S. TRUSTEE and
   Laura J. Genovich
   Chapter 7 Panel Trustee


The Clerk of the Court hereby certifies that on April 16, 2019 , the Trustee filed a Notification of Intent to
File Final Report in the captioned case. As of this date and to the best of my knowledge, there are no
unpaid court costs under 28 U.S.C. §1930(b).




Dated: April 17, 2019
